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     Attorneys for Plaintiff
  11 Francis J. Racioppi, Jr.
  12
                                 UNITED STATES DISTRICT COURT
  13
                                CENTRAL DISTRICT OF CALIFORNIA
  14
  15
  16 FRANCIS J. RACIOPPI, JR., an                    Case No. 2:20-cv-03797-FMO (JCx)
     individual,
  17                                                 TABLE OF EXHIBITS IN
  18             Plaintiff,                          SUPPORT OF PLAINTIFF’S
                                                     RESPONSE TO DEFENDANTS’
  19               vs.                               SUPPLEMENTAL OPPOSITION
  20                                                 RE: ATTACHMENT
     DMITRY BORISOVICH BOSOV, et
  21 al,
  22
                         Defendants.
  23
  24
  25
  26
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  28
       1564479.1                                                       Case No. 2:20-cv-03797-FMO
       TABLE OF EXHIBITS ISO PLAINTIFF’S RESPONSE TO DEFENDANTS’ SUPPLEMENTAL OPPOSITION RE:
                                             ATTACHMENT
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   1    Ex.                                       Description
   2    1          Plaintiff’s Signed Employment Agreement, dated March 5, 2020
   3
        2          Genius Fund I, Inc. June 2019 Statement of Information
   4
        3          Genius Fund I, Inc. April 2020 Statement of Information
   5
   6    4          Heli Biotech LLC September 2019 Statement of Information

   7    5          Eagle Rock Herbal Collective LLC February 2020 Statement of Information
   8    6          Genius Products LLC April 2019 Statement of Information
   9
        7          Full Circle Labs LLC June 2019 Statement of Information
  10
        8          Full Circle Labs LLC April 2020 Statement of Information
  11
  12    9          Nature’s Holiday LLC April 2019 Statement of Information

  13    10         Variant Hemp Solutions LLC December 2019 Statement of Information
  14    11         Genius Delivery LLC May 2019 Statement of Information
  15
        12         Genius Delivery LLC April 2020 Statement of Information
  16
        13         Planck Properties LLC April 2019 Statement of Information
  17
        14         Aristotle Equipment LLC April 2019 Statement of Information
  18
  19    15         Aristotle Equipment LLC April 2020 Statement of Information
  20    16         Genius Sales LLC April 2019 Statement of Information
  21    17         Genius Products T, Inc. March 2020 Statement of Information
  22
        18         Genius Products NT, Inc. March 2020 Statement of Information
  23
        19         Executive Order Issued by Defendant Bosov on February 24, 2020
  24
  25    20         “Executive Order Finale” Issued by Defendant Bosov on March 14, 2020
  26    21         Executive Order No. 021-059 / 111-07-23 Issued on March 23, 2020
  27    22         Executive Order No. 021-059 / 111-07-21 Issued on March 23, 2020
  28
       1564479.1
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   1    Ex.                                        Description
   2    23         Executive Order No. 021-059 / 111-07-22 Issued on March 23, 2020
   3
        24         Executive Order No. 021-059 / 111-07-20 Issued on March 23, 2020
   4
        25         Executive Order No. 021-059 / 111-07-19 Issued on March 23, 2020
   5
   6    26         ESSMW – Earth Solar System Milky Way, LLC’s Articles of Incorporation

   7    27         Termination Notice Provided to All GFG Employees
   8    28         WARN Act Notice Provided to Former GFG Employees
   9
        29         Grant Deed for Property Located in Beverly Hills, California
  10
        30         Information from Delaware Secretary of State’s website re: LWBH LLC
  11
  12    31         Grant Deed for 0 Bolsa Road, Hollister, CA 95023

  13    32         Grant Deed for 9924/9928 Rancho Road, Adelanto, CA 92301
  14    33         Grant Deed for 7569 Melrose Ave, Los Angeles, CA 90046
  15
        34         April 2019 Arbitration Agreement Plaintiff Signed Upon Becoming GFG
  16               Chief Security Officer
  17    35- [Unused]
  18    40
  19    40         Plaintiff’s April 26, 2019 Employment Offer Letter
  20    41         March 22, 2020 Email from Plaintiff Regarding His Restructuring Plan and
  21               Business Strategies
  22    42         March 24-27, 2020 Email Chain Between Plaintiff and Law Firm Regarding
  23               Potential Lawsuit

  24    43         March 27-28, 2020 Emails Between Plaintiff and Company Personnel
  25    44         March 27 and 30, 2020 Emails Between Plaintiff and Company Personnel
  26
        45         March 29, 2020 Google Calendar Invitation for HR Meeting Accepted by
  27               Plaintiff
  28
       1564479.1
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   1    Ex.                                       Description
   2    46         March 30, 2020 Google Calendar Invitation for HR Meeting Accepted by
   3               Plaintiff
   4    47         April 1, 2020 Emails Between Plaintiff and Company Personnel
   5    48         April 1-2, 2020 Emails Between Plaintiff and Company Personnel
   6
        49         Demand Letter from Plaintiff’s Counsel
   7
        50         Litigation Hold Request from Plaintiff’s Counsel
   8
   9    51         February 19, 2020 Email to from Company to Plaintiff Informing Him of
                   Creation of a Restructuring Committee
  10
        52         March 28, 2020 Email from Plaintiff to Company Managers
  11
  12    53         March 31, 2020 Email from Plaintiff to Company’s Board of Directors
                   Regarding the Company’s Future
  13
  14    54         March 31, 2020 Email from Plaintiff to Defendant Shinder Regarding the
                   Company’s Future
  15
        55         Plaintiff’s March 31, 2020 Paystub
  16
  17    56         April 2, 2020 Email Chain Between Michelle Lynd and Plaintiff’s Counsel

  18    57         December 4, 2019 “As Is” Appraisal of Property on Bolsa Road, Hollister,
                   California
  19
  20    58         Assumption Agreement Evidencing First Priority Lien on Bolsa Road
                   Property
  21
  22    59         December 4, 2019 “As Is” Appraisal of Property on Aerostar Drive,
                   Hollister, California
  23
        60         April 3, 2020 Closing Statements for Bolsa Road and Aerostar Drive
  24               Properties
  25
        61         Text Messages from Plaintiff and Defendant Shinder between March 24-26,
  26               2020 Indicating Attempts to Discuss Company Matters
  27
  28
       1564479.1
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   1    Ex.                                        Description
   2    62         Text Messages from Defendant Shinder to Plaintiff Regarding Board
   3               Directives and Executive Order Terminating All GFG Personnel
   4    63         Text Messages from Plaintiff to Michelle Lynd and Datesh Kshatriya
   5               Regarding Board Directives and Executive Order Terminating All GFG
                   Personnel
   6
        64         Flight Itinerary for Plaintiff’s Flight to Los Angeles on March 26, 2020
   7
   8    65         Text Messages Between Plaintiff and Defendant Shinder on March 27, 2020,
                   Regarding Defendant Shinder’s Whereabouts
   9
        66         Plaintiff’s Telephone Bill Indicating a 29-Minute Call to Defendant Shinder
  10
                   on March 27, 2020 at 2:37 p.m. and a Conference Call at 4:00 p.m.
  11
        67         Plaintiff’s Telephone Bill Indicating an 11-Minute Call to Defendant Shinder
  12               on April 1, 2020 at 11:41 p.m.
  13
        68         Coldwell Banker Realty Printout of 0 Bolsa Road Sale Price from May 17,
  14               2017
  15    69         Emails and Letters Exchanged Between BGR, Michelle Lynd, Defendant
  16               Shinder, and other GFG-related Persons Between April 2, 2020 and April 21,
                   2020
  17
  18
  19
  20 Dated: May 20, 2020                        BROWNE GEORGE ROSS LLP
                                                   Thomas P. O’Brien
  21                                               Jennie Wang VonCannon
  22                                               David J. Carroll
                                                   Nathan F. Brown
  23
  24                                            By:        /s/ Thomas P. O’Brien
                                                           Thomas P. O’Brien
  25                                            Attorneys for Plaintiff Francis J. Racioppi, Jr.
  26
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       1564479.1
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